                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN
                                   GREEN BAY DIVISION


UNITED STATES OF AMERICA,

                                Plaintiff,                     Case No. ________________
                v.
                                                               COMPLAINT
ESTATE OF CHIA VANG LEE
c/o Michael T. Schoendorf, Special Administrator
707 West Moreland Blvd., STE 9
Waukesha, WI 5318,

PESHTIGO NATIONAL BANK
250 French Street
Peshtigo, WI 54157,

                                Defendants.


        Comes now the plaintiff, the United States of America, by Matthew D. Krueger, United

States Attorney for the Eastern District of Wisconsin, and Carter B. Stewart, Assistant United

States Attorney for said District, and for its cause of action alleges that:

        1.      This is a civil action brought by the United States of America under the provisions

of 28 U.S.C. '1345 to foreclose upon real estate held by Defendant Estate of Chia Vang Lee.

        2.      Chia Vang Lee executed promissory notes, secured by a mortgage upon real

estate within the jurisdiction of this court.

        3.      Defendant Chia Vang Lee executed and delivered to plaintiff, acting through the

Farm Service Agency, United States Department of Agriculture, the following promissory notes:

                Date                    Amount                 Exhibit (hereto annexed)

                June 30, 2014           $160,089.23                            A
                June 22, 2006           $200,000.00                            B




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        4.      To secure said notes, the Chia Vang Lee executed and delivered to plaintiff the

following duly recorded mortgage upon certain real estate within the jurisdiction of this Court:

                Date                                            Exhibit (hereto annexed)

        June 22, 2006                                                         C

        5.      Chia Vang Lee passed away on June 10, 2018; a copy of the death certificate is

hereto annexed as Exhibit D.

        6.      No action has been filed to probate the Estate of Chia Vang Lee.

        7.      The Estate of Chia Vang Lee has failed to make the required payments towards

the above debts and, therefore, has defaulted under the terms of the applicable loan instruments.

        8.      The Estate of Chia Vang Lee being in default, plaintiff served upon it a Notice of

Acceleration of Indebtedness and Demand for Payment, a copy of which is hereto annexed as

Exhibit E.

        9.      The Estate of Chia Vang Lee owes plaintiff under the provisions of the notes and

mortgage a balance of $163,137.28 as of November 19, 2019 with interest accruing thereafter at

the daily rate of $15.3976. This amount is computed as follows: principal of $155,038.13, and

interest of $8,099.15. A Statement of Account is attached hereto as Exhibit F.

        10.     Peshtigo National Bank purports to have a prior interest in the real property by

virtue of a mortgage recorded in the office of the Register of Deeds for Oconto County on June

23, 2006 in volume 1212 of Deeds, page 264, document number 590551, in the original amount

of $23,000.00. This mortgage is superior to the Farm Service Mortgage recorded also on June

23, 2006.

        11.     The other defendants purport to have interest in the mortgaged premises but any

such interests are junior and subordinate to the interest of the plaintiff.




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       WHEREFORE, plaintiff prays that an accounting be taken under the direction of this

Court of what is due for principal and interest on the notes and mortgage, and that a decree be

entered as follows:

       (a)     That the Estate of Chia Vang Lee pay to plaintiff the total of $163,137.28 together

with interest from November 19, 2019 at the rate of $15.3976 per day computed as provided in

the notes and mortgage up to the date on which the decree is entered, plus interest thereafter

according to law, costs, disbursements, and expenses;

       (b)     Or in default of such payment, that all legal right, title, and interest that

defendants have in the property described in said mortgage be sold at public sale in accordance

with 28 U.S.C. ''2001-2003, inclusive, and that the amounts due to plaintiff and Peshtigo

National Bank be paid out of the proceeds of the sale pursuant to the lien priority of each

mortgage;

       (c)     That the defendants and all persons claiming or who may claim by, from, or under

them be absolutely barred and foreclosed from all rights and equity of redemption in the

property,

       (d)     That if the proceeds of the sale exceed the sum of money to be paid to plaintiff,

any such excess be deposited with the Clerk of this Court subject to further orders of the Court;

        (f)    For such other and further relief as is just.




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Dated at Milwaukee, Wisconsin this 12th day of February, 2020.


                                           MATTHEW D. KRUEGER
                                           United States Attorney


                                    By     s/Carter B. Stewart

                                           CARTER B. STEWART
                                           Assistant United States Attorney
                                           Wisconsin State Bar No. 1117543
                                           Office of the United States Attorney
                                           Federal Building, Room 530
                                           517 East Wisconsin Avenue
                                           Milwaukee, Wisconsin 53202
                                           Telephone: 414-297-1700
                                           Fax: 414-297-4394
                                           carter.stewart@usdoj.gov




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